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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §          Criminal No. 4:15-cr-0566-S1
                                                  §
LEE ROY VILLARREAL                                §

                                  UNOPPOSED
                       GOVERNMENT'S MOTION TO DISMISS
                COUNT FOUR OF THE FIRST SUPERSEDING INDICTMENT

          The United States of America (“Government”) files this motion to dismiss court four of

the first superseding indictment:

                                                  I.

          On November 21, 2019, a grand jury returned the first superseding indictment charging

Lee Roy Villarreal (“Villarreal”) in count four with using, carrying and brandishing a firearm

during a crime of violence, that is, kidnapping, in violation of Title 18, United States Code, §

924(c).

                                                 II.

          The Supreme Court in Davis v. United States, 139 S. Ct. 2319, 204 L. Ed 2d 757 (2019)

held that kidnapping is not a crime of violence under Title 18, United States Code, § 924(c)(3)(b).

Therefore, kidnapping cannot be a predicate offense for a charge under Title 18, United States

Code, § 924(c).

                                                 III.

          The Government therefore moves for the Court to dismiss count four of the 1st superseding

indictment.




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                                                     Respectfully submitted,

                                                     RYAN K. PATRICK
                                                     United States Attorney


                                                     s/ Anibal J. Alaniz
                                                     Anibal J. Alaniz
                                                     Assistant United States Attorney
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                                                     s/ Casey N. MacDonald
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                                                     Assistant United States Attorney
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                                                     Federal Bar No. 915752
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                                                     Houston, TX 77002
                                                     713-567-9000 (office)
                                                     713-567-9798 (direct)

                               CERTIFICATE OF CONFERENCE

          On January 7, 2021, the Government conferred with counsel for the defendant and the

defendant is unopposed to this motion.

                                                     s/ Anibal J. Alaniz
                                                     Anibal J. Alaniz
                                                     Assistant United States Attorney

                                                     s/ Casey N. MacDonald
                                                     Casey N. MacDonald
                                                     Assistant United States Attorney

                                  CERTIFICATE OF SERVICE

          On January 8, 2021, the Government filed this motion via ECF and served counsel of

record.



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                                      s/ Anibal J. Alaniz
                                      Anibal J. Alaniz
                                      Assistant United States Attorney

                                      s/ Casey N. MacDonald
                                      Casey N. MacDonald
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